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                                  Tel: 415 496 6723
                             12   Fax: 650 636 9251
Weil, Gotshal & Manges LLP

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                             13   Proposed Attorneys for Debtors
                                  and Debtors in Possession
      767 Fifth Avenue




                             14                             UNITED STATES BANKRUPTCY COURT
                             15                             NORTHERN DISTRICT OF CALIFORNIA
                                                                 SAN FRANCISCO DIVISION
                             16                                             Bankruptcy Case
                                   In re:                                   No. 19-30088 (DM)
                             17
                                   PG&E CORPORATION,                                   Chapter 11
                             18
                             19           - and –                                      (Lead Case)

                                   PACIFIC GAS AND ELECTRIC                            (Jointly Administered)
                             20
                                   COMPANY,
                             21                                                        DECLARATION OF MICHAEL H. TORKIN
                                                                 Debtors.              IN SUPPORT OF THE MOTION
                             22                                                        PURSUANT TO 11 U.S.C. § 363(b)
                                    Affects PG&E Corporation                          AUTHORIZING DEBTORS TO PAY THE
                                    Affects Pacific Gas and Electric Company          FEES AND EXPENSES OF SIMPSON
                             23     Affects both Debtors                              THACHER & BARTLETT LLP AS
                             24                                                        COUNSEL TO THE INDEPENDENT
                                   * All papers shall be filed in the Lead Case No.    DIRECTORS OF PG&E CORP.
                                   19-30088 (DM).
                             25                                                         Date: April 24, 2019
                                                                                        Time: 9:30 a.m. (Pacific Time)
                             26                                                         Place: United States Bankruptcy Court,
                             27                                                                Courtroom 17, 16th Floor
                                                                                               San Francisco, CA 94102
                             28

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                                                                             23
                             1           I, Michael H. Torkin, being duly sworn, declare the following under penalty of perjury:

                             2           I am a partner in the law firm of Simpson Thacher & Bartlett LLP (“Simpson Thacher” or the
                             3    “Firm”), with an office at 425 Lexington Avenue, New York, New York 10017. I am a member in good
                             4    standing of the Bar of the State of New York, and there are no disciplinary proceedings pending against

                             5    me.

                             6           This Declaration is made in support of the above-captioned debtors’ (the “Debtors”) Motion
                             7    Pursuant to 11 U.S.C. § 363(b) Authorizing Debtors to Pay the Fees and Expenses of Simpson Thacher

                             8    & Bartlett LLP as Counsel to the Independent Directors of PG&E Corp. (the “Motion”) 1, on the terms
                             9    and conditions described in the Motion. Except as otherwise noted, I have personal knowledge of the

                             10   matters set forth herein, and the statements made herein are based on the conflicts search conducted to

                             11   date and described herein and are made to the best of my knowledge, information and belief.

                             12          To the extent that any information disclosed herein requires amendment or modification upon
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                             13   Simpson Thacher’s receipt of additional information or as additional information on parties in interest
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                             14   becomes available, I or one of my partners will use reasonable efforts file a supplemental declaration

                             15   with the Court.

                             16                              SIMPSON THACHER’S QUALIFICATIONS
                             17          Simpson Thacher has represented and worked closely with the Independent Directors since 2017.

                             18   As a general matter, Simpson Thacher has extensive experience representing boards in highly
                             19   challenging circumstances and is well positioned to continue providing necessary independent

                             20   representation to the Independent Directors. The Independent Directors selected and desire to remain

                             21   with Simpson Thacher because of its history in this matter and its experience representing the interests

                             22   of directors in complex situations together with Simpson Thacher’s broad experience with bankruptcy,

                             23   restructuring, and corporate governance matters.

                             24          Simpson Thacher has worked productively and efficiently alongside the Debtors’ advisors in

                             25   ways that have avoided duplication of effort. Simpson Thacher has not and will not advise the Debtors,

                             26   and none of the Debtors’ lawyers will be positioned to provide independent legal advice to the

                             27
                                  1
                                        Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the
                             28   Motion.

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                                                                             23
                             1    Independent Directors. The Debtors have been informed that the attorneys of Simpson Thacher who

                             2    will appear before this Court are admitted to this Court or will be admitted pro hac vice.

                             3    SCOPE OF SIMPSON THACHER’S SERVICES AND PROFESSIONAL COMPENSATION
                             4            The Independent Directors have requested that Simpson Thacher represent and advise them in

                             5    connection with: these Chapter 11 Cases; regulatory, judicial, and related proceedings concerning

                             6    conduct of the Debtors or the Independent Directors; shareholder and securities-related issues including

                             7    litigation; the Independent Directors’ review of the Debtors’ safety and compliance practices; the

                             8    exercise of their fiduciary duties including with respect to maximizing the value of the Estate; and such

                             9    other matters as may be requested by the Independent Directors and agreed by Simpson Thacher from

                             10   time to time.

                             11           The Debtors will pay Simpson Thacher’s fees and expenses for the services rendered by Simpson
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                             12   Thacher to the Independent Directors. Simpson Thacher’s current hourly rates for the attorneys who are
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                             13   expected to continue providing services to the Independent Directors are $1,325-$1,640 for partners,

                             14   $1,190-$1,220 for counsel and senior counsel, $590-$1,145 for associates and $265-$455 for legal

                             15   paraprofessionals. Simpson Thacher adjusts its rates periodically, typically on January 1 of each year;

                             16   in addition, rates of associate attorneys typically increase in the fall as associates move up in class

                             17   seniority.

                             18           In addition to the hourly rates set forth above, Simpson Thacher customarily charges its clients

                             19   for costs or expenses incurred. These costs and expenses include, among other things, overnight mail,

                             20   courier delivery, transportation, computer-assisted legal research, photocopying, airfare, meals, and

                             21   lodging.

                             22           To the best of my knowledge, Simpson Thacher has not shared, and has not agreed to share: (a)

                             23   any compensation it has received or may receive with another party or person, other than with the

                             24   partners, senior counsel, counsel, associates, contract attorneys and paraprofessionals associated with

                             25   Simpson Thacher; or (b) any compensation another person or party has received or may receive.

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                                                                             23
                             1    Simpson Thacher currently uses contract attorneys and will not charge a markup with respect to fees

                             2    billed by such attorneys.

                             3                                SIMPSON THACHER’S DISINTERESTEDNESS
                             4           Except as otherwise set forth herein, based on the conflicts search conducted to date and

                             5    described herein, to the best of my knowledge, Simpson Thacher (a) does not have any connection with

                             6    the Debtors or their affiliates, their creditors, their significant shareholders, the U.S. Trustee, or any

                             7    person employed in the office of the U.S. Trustee, or any other party in interest, or its respective attorneys

                             8    and accountants; (b) is a “disinterested person,” as that term is defined in section 101(14) of the

                             9    Bankruptcy Code; and (c) does not hold or represent any interest adverse to the estates.

                             10          Simpson Thacher and certain of its partners, senior counsel, counsel and associates may have in

                             11   the past represented, may currently represent, and likely in the future will represent parties in interest in
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                             12   the Chapter 11 Cases in connection with matters unrelated (except as otherwise disclosed herein) to the
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                             13   Debtors and the Chapter 11 Cases. Simpson Thacher searched its electronic database for its connections

                             14   to the parties that comprise the categories listed on Schedule 1 annexed hereto (the “Retention
                             15   Checklist”). This list was provided by the Debtors in the format in which they maintain the list. In
                             16   some instances, the list does not disclose the full legal name or other information needed for Simpson

                             17   Thacher to search its electronic database. Where the names of the entities reviewed were incomplete or
                             18   ambiguous, the scope of the search was intentionally broad and inclusive, and Simpson Thacher

                             19   reviewed each entity in its records. All statements made herein or in the schedules annexed hereto

                             20   concerning Simpson Thacher’s connections to parties in interest are based upon (y) information from,

                             21   and discussions I or other Simpson Thacher personnel reporting to me have had with the attorneys at

                             22   Simpson Thacher responsible for conflicts matters; and (z) information generated by the Finance

                             23   Department at Simpson Thacher. The information listed on Schedule 1 may have changed without
                             24   Simpson Thacher’s knowledge and may change during the pendency of these Chapter 11 Cases.

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                                                                               23
                             1    Accordingly, Simpson Thacher will use reasonable efforts to update this Declaration as necessary and

                             2    when Simpson Thacher becomes aware of material information. 2

                             3                   Simpson Thacher’s search of the parties in interest listed on Schedule 1 reveals that,
                             4    although certain Simpson Thacher attorneys and paraprofessionals may have previously worked at other

                             5    law firms that represented certain parties who may now be potential parties in interest in the Chapter 11

                             6    Cases, to the best of Simpson Thacher’s knowledge, such people have not worked on matters relating to

                             7    the Debtors’ restructuring efforts or the Chapter 11 Cases while at Simpson Thacher.

                             8           Based on the conflicts search conducted to date and described herein, to the best of my

                             9    knowledge, neither I nor Simpson Thacher has any connection with the Debtors, their creditors, their

                             10   significant shareholders, or any other parties in interest, their respective attorneys and accountants, the

                             11   U.S. Trustee, or any person employed in the office of the U.S. Trustee, except as disclosed or otherwise
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                             12   described herein and in Schedule 2 annexed hereto.
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                             13          From time to time, Simpson Thacher may refer, or may have referred, work to other professionals

                             14   to be retained in the Chapter 11 Cases. Likewise, certain such professionals may refer, or may have

                             15   referred, work to Simpson Thacher. In addition, we believe it likely that many of the professionals who

                             16   may appear in the case may be trustees, witnesses, advisors or counsel, as the case may be, in other

                             17   transactions or cases in which Simpson Thacher also represents a client. Simpson Thacher may retain
                             18   various such professionals or affiliates thereof to provide forensic, litigation support and financial

                             19   advisory services to Simpson Thacher or Simpson Thacher’s clients in a variety of past, present or future

                             20   engagements. Current employees at Simpson Thacher may be former employees of, or related to

                             21

                             22   2
                                           Neither the term “connection” as used in Bankruptcy Rule 2014 nor the proper scope of a
                                  professional’s search for “connections” has been authoritatively defined, and I am therefore required to
                             23   exercise some degree of professional judgment in preparing this declaration, as well as in defining the
                                  scope of how to search for relevant facts. Out of an abundance of caution, I may be disclosing items
                             24   that are not, in my judgment, disqualifying or problematic under either the Bankruptcy Code or
                                  applicable standards of professional ethics. One such judgment I employed is that, when our conflicts
                             25   check clearly indicated that a name on the Retention Checklist had not been an active client within the
                                  past two years, I treated that as not a “connection” required to be disclosed at this time. A further
                             26   judgment I employed is that where a party in interest was only reported as an affiliate of a former
                                  client, I concluded that relationship was too attenuated to qualify as a connection required to be
                             27   disclosed.
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                                                                              23
                             1    employees of, one or more of the other professionals in these Chapter 11 Cases. In addition, attorneys

                             2    at Simpson Thacher belong to professional organizations to which other professionals who may appear

                             3    in these Chapter 11 Cases may also belong. Simpson Thacher does not maintain searchable records of

                             4    any of these relationships, but I do not personally know of any that exist.

                             5                                           SPECIFIC DISCLOSURES
                             6           Schedule 2 to this Declaration (the “Search Results”) lists the results of Simpson Thacher’s
                             7    conflicts searches of the entities listed on Schedule 1. Many of the Firm’s representations of the clients
                             8    listed on Schedule 2(b) consist of representations in episodic transactional matters and will not affect
                             9    the Firm’s representation of the Independent Directors in the Chapter 11 Cases. Also, Simpson Thacher

                             10   does not represent, and has not represented, within the time period covered by our conflicts database,

                             11   any other entity in any matter adverse and/or related to the Debtors or their estates. Simpson Thacher is
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                             12   not disqualified from acting as the Independent Directors’ counsel merely because it represents the
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                             13   Debtors’ creditors, significant shareholders, or other parties in interest in matters unrelated to the Chapter

                             14   11 Cases.

                             15          Based on the conflicts search conducted to date and described herein, to the best of my

                             16   knowledge, neither I, Simpson Thacher, nor any partner or associate thereof, insofar as I have been able

                             17   to ascertain, have any connection with the Debtors, their creditors, their significant shareholders or any
                             18   other parties in interest, its respective attorneys and accountants, the U.S. Trustee, any person employed

                             19   in the Office of the U.S. Trustee, or any Bankruptcy Judge currently serving on the United States

                             20   Bankruptcy Court for the Northern District of California, except as disclosed or otherwise described

                             21   herein. All of the connections described on Schedule 2(b) pertain to Simpson Thacher’s representation
                             22   of such current and former clients in matters wholly unrelated to the Debtors and the Chapter 11 Cases.

                             23          Simpson Thacher is one of the largest law firms in the country and has a diverse client base.

                             24   Only three of the clients, together with their affiliates, referenced on Schedule 2(b) accounted for more
                             25   than 1% of Simpson Thacher’s revenues for the twelve months ended December 2018 (the “1%
                             26   Clients”) and, with one exception, none accounted for more than 5% of Simpson Thacher’s revenues
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                                                                               23
                             1    during such period. 3 Simpson Thacher has considered the position of the 1% Clients in the Debtors’

                             2    cases and has concluded that Simpson Thacher’s representation of the Independent Directors does not

                             3    create any conflict with the 1% Clients.

                             4           Simpson Thacher advises clients in transactions and litigations, including restructuring and

                             5    bankruptcy matters, with third parties with which the Debtors also have a relationship. For example,

                             6    Simpson Thacher may represent certain creditors or directors of a company, and the Debtors may have

                             7    a separate relationship, such as a supplier or customer, with the same company. In certain circumstances,

                             8    the interests of Simpson Thacher’s clients may be adverse to those of the Debtors with respect to the

                             9    third party. I do not know whether the Search Results or Simpson Thacher’s conflict checking system

                             10   captures all connections of this nature or whether such situations are properly considered “connections”

                             11   within the meaning of the Bankruptcy Rules, although, out of an abundance of caution, if the conflict
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                             12   check disclosed such instances, I have included the party in interest on the attached Schedule 2(b).
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                             13          In addition, Simpson Thacher may have represented, may currently represent, or may in the

                             14   future represent, a borrower, an issuer of securities, a financial advisor, an underwriter of securities, a

                             15   lead bank or any other client in financing transactions, merger and acquisition transactions, litigation or

                             16   arbitration matters, bankruptcy matters or other matters unrelated to these Chapter 11 Cases in which

                             17   one or more parties in interest (or an affiliate) or a professional involved in these Chapter 11 Cases,
                             18   including, those listed on the Search Results, happens to be involved, although not as Simpson Thacher’s

                             19   client. Simpson Thacher also may represent, in matters unrelated to the Debtors, companies that may be

                             20   considered competitors of the Debtors.

                             21          I do not understand Bankruptcy Rule 2014(a) or other applicable law to require disclosure of

                             22   each present or future engagement Simpson Thacher receives from a party in interest so long as it is

                             23   unrelated to these Chapter 11 Cases. Simpson Thacher intends to accept engagements from other parties

                             24   in interest (whether existing or new clients) that are unrelated to the Debtors.

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                                   The 1% Clients are JPMorgan Chase and affiliates, First Reserve Corporation and related portfolio
                             27   companies and Morgan Stanley and affiliates.
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                                                                              23
                             1           It is my understanding that no active, non-retired Simpson Thacher attorney or his or her

                             2    respective family members owns PG&E Corp. stock or is a creditor of the Debtors.                It is my

                             3    understanding that Simpson Thacher attorneys invest in a broad array of mutual funds and ETFs and

                             4    through non-discretionary or otherwise managed accounts and programs for which investment decisions

                             5    are not made by the attorney, some number of which either currently or may in the future own securities

                             6    of the Debtors or one or more of their creditors.

                             7           Attorneys or employees of Simpson Thacher may receive services from parties in interest or

                             8    professionals involved in this case. Attorneys or other employees of Simpson Thacher or their spouses

                             9    or relatives may have beneficial ownership of securities issued by, or banking, insurance, brokerage or

                             10   money management relationships with, other parties in interest. Attorneys of Simpson Thacher may

                             11   have relatives or spouses who are members of professional firms involved in this case or employed by
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                             12   parties in interest. Except as set forth above, we have conducted no investigation of our colleagues’
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                             13   banking, insurance, brokerage or investment activities or familial connections in preparing this

                             14   Declaration, and do not believe any such interests would result in Simpson Thacher not being

                             15   disinterested.

                             16          To the extent that any new relevant facts or relationships bearing on the matters described herein

                             17   during the period of Simpson Thacher’s retention are discovered or arise, Simpson Thacher will use

                             18   reasonable efforts to file promptly a supplemental declaration, as required by Bankruptcy Rule 2014(a).

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                                                                              23
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                                         23
                              1                                             SCHEDULE 1
                              2                                       List of Interested Parties
                              3          The following lists contain the names of reviewed entities, as described more fully in the

                              4   Torkin Declaration. Where the names of the entities reviewed are incomplete or ambiguous, the

                              5   scope of the search was intentionally broad and inclusive, and Simpson Thacher reviewed each

                              6   entity in its records, as more fully described in the Torkin Declaration, matching the incomplete or

                              7   ambiguous name.

                              8                                           List of Categories
                              9
                             10    Category
                             11     Debtors
                                    Debtors’ Trade Names and Aliases (up to 8 years)
                             12     Affiliates and Subsidiaries
                                    Bank Accounts
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                             13     Bankruptcy Judges & Staff Northern District of California
                                    Current Officers and Directors
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                             14     Term and Revolving Loan Lenders and Administrative Agents
                                    Contract Counterparties (includes PPAs, patents, and IP)
                             15     Debtors Professionals (law firms, accountants, and other professionals)
                                    Former Officers and Directors (since 2008)
                             16     Affiliations of Former Officers
                                    Affiliations of Former Directors
                             17     Insurance/Insurance Provider/Surety Bonds
                                    Surety Bonds
                             18     Landlords and parties to leases
                                    Lenders (Prepetition and Proposed Postpetition to the extent not already listed)
                             19     Litigation Counterparties/Litigation Pending Lawsuits – includes threatened
                                    litigation
                             20     Litigation Parties (in adversary 19-03003)
                                    Ad Hoc Committee of Unsecured Tort Claimant Creditors
                             21     Non-Debtors Professionals
                                    Ordinary Course Professionals
                             22     Letters of Credit
                                    Regulatory and Government (Federal, State and Local)
                             23     Secured Creditors
                                    Significant Competitors
                             24     Significant Shareholders (more than 5% of equity)
                                    Significant holder of voting securities
                             25     Taxing Authorities (Federal, State, and Local; trust fund, use property,
                                    franchise, sales)
                             26     Top Unsecured Creditors
                                    Unsecured Notes
                             27     UCC Lien Holders
                                    Unions
                             28     Office of the United States Trustee for Region 17


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                              1    Utility Providers
                                   Vendors/Suppliers (critical, foreign, common carrier, shippers, warehousemen,
                              2    customs duties, brokers charges, facilities provider, and third parties)
                                   Interested Parties/Notice of Appearance Parties
                              3

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                              1                                              SCHEDULE 2
                              2                             List of “Connections” with Interested Parties
                              3   This schedule contains the names of parties on the Retention Checklist which our conflict-

                              4   checking personnel advise me are current or former clients; affiliates of current clients; or persons

                              5   with whom Simpson Thacher has some relationship involving the provision of legal services (such

                              6   as a committee of independent directors of the entity or being designated by that entity to represent

                              7   parties underwriting or providing financing for the entity) to a third-party where its fees may be

                              8   borne in whole or part by such party in interest. In the case of Schedule 2(b) below, the services
                              9   rendered by Simpson Thacher to the client, affiliate of a client, or former client, as applicable, are
                             10   and were unrelated to the Debtors and these Chapter 11 Cases.
                             11

                             12               2(a) – CURRENT CLIENTS OF SIMPSON THACHER IN THE CHAPTER 11 CASES
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                             13    CHEW, LEWIS
      767 Fifth Avenue




                             14    FOWLER, FRED

                             15    HERRINGER, MARYELLEN

                             16    JOHNSON, JEH

                             17    KELLY, RICHARD
                             18    KIMMEL, ROGER
                             19    MESERVE, RICHARD
                             20    MILLER, FORREST
                             21    MINICUCCI, BENITO
                             22    MULLINS, ERIC
                             23    PARRA, ROSENDO
                             24    RAMBO, BARBARA
                             25    SMITH, ANNE SHEN
                             26
                                   WILLIAMS, BARRY
                             27

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                                                                          of 23
                              1   2(b) – INTERESTED PARTIES TO WHOM SIMPSON THACHER PROVIDES, OR HAS PROVIDED, LEGAL
                                     SERVICES, WHICH SERVICES ARE WHOLLY UNRELATED TO THE DEBTORS, OR WITH WHOM
                              2   SIMPSON THACHER HAS ANOTHER FORM OF CONNECTION AS DESCRIBED ABOVE ON SCHEDULE 2
                                  ADP, INC.
                              3
                                  AETNA
                              4
                                  AETNA INTERNATIONAL
                              5
                                  AIG EUROPE LIMITED
                              6
                                  AIG PROPERTY CASUALTY COMPANY
                              7
                                  ALLIANZ GLOBAL CORPORATE & SPECIALTY SE (PDW)
                              8
                                  ALLIANZ GLOBAL RISKS
                              9
                                  ALLIANZ GLOBAL RISKS US INSURANCE COMPANY
                             10
                                  ALTAMONT COGENERATION CORP.
                             11
                                  ALTAMONT POWER LLC (3-4 )
                             12
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                                  ALTAMONT POWER LLC (4-4)
 New York, NY 10153-0119




                             13
                                  ALTAMONT POWER LLC (6-4)
      767 Fifth Avenue




                             14
                                  ALTAMONT POWER LLC (PARTNERS 1)
                             15

                             16   ALTAMONT POWER LLC (PARTNERS 2)

                             17   AMERICAN HOME INSURANCE COMPANY

                             18   AMERICAN INTERNATIONAL REINSURANCE COMPANY LTD

                             19   AMERICAN NUCLEAR INSURANCE (ANI)

                             20   ASPEN INSURANCE COMPANY

                             21   ASPEN SPECIALTY INSURANCE COMPANY

                             22   ATC GROUP SERVICES LLC

                             23   AXIS INSURANCE COMPANY

                             24   AXIS SPECIALTY LIMITED (PDW)

                             25   AXIS SURPLUS INSURANCE COMPANY

                             26   BAKER HUGHES PROCESS & PIPELINE SERVICES

                             27   BAKER HUGHES US LAND

                             28


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                                                                    of 23
                              1   2(b) – INTERESTED PARTIES TO WHOM SIMPSON THACHER PROVIDES, OR HAS PROVIDED, LEGAL
                                     SERVICES, WHICH SERVICES ARE WHOLLY UNRELATED TO THE DEBTORS, OR WITH WHOM
                              2   SIMPSON THACHER HAS ANOTHER FORM OF CONNECTION AS DESCRIBED ABOVE ON SCHEDULE 2
                                  BANK OF AMERICA MERRILL LYNCH
                              3
                                  BANK OF AMERICA N.A.
                              4
                                  BANK OF MONTREAL
                              5
                                  BARCLAYS BANK PLC
                              6
                                  BARCLAYS CAPITAL INC.
                              7
                                  BARCLAYS GLOBAL
                              8
                                  BEAZLEY INSURANCE COMPANY
                              9
                                  BERKSHIRE HATHAWAY AMGUARD INSURANCE COMPANY
                             10
                                  BERKSHIRE HATHAWAY ENERGY RENEWABLES
                             11
                                  BERKSHIRE HATHAWAY INTERNATIONAL INSURANCE LIMITED (PDW)
                             12
Weil, Gotshal & Manges LLP




                                  BLACKROCK FUND ADVISORS
 New York, NY 10153-0119




                             13
                                  BLACKROCK, INC.
      767 Fifth Avenue




                             14
                                  BNP PARIBAS
                             15

                             16   BNP PARIBAS US

                             17   BNP PARIBAS SECURITIES CORP.

                             18   CALPINE CORPORATION

                             19   CANADIAN IMPERIAL BANK OF COMMERCE

                             20   CANADIAN IMPERIAL BANK OF COMMERCE, NEW YORK BRANCH

                             21   CARTER VALIDUS OPERATING

                             22   CHA CONSULTING, INC.

                             23   CIGNA GROUP INSURANCE

                             24   CITIBANK, N.A.

                             25   CITIGROUP

                             26   CITIGROUP ENERGY INC

                             27   CITIGROUP GLOBAL MARKETS

                             28


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                              1   2(b) – INTERESTED PARTIES TO WHOM SIMPSON THACHER PROVIDES, OR HAS PROVIDED, LEGAL
                                     SERVICES, WHICH SERVICES ARE WHOLLY UNRELATED TO THE DEBTORS, OR WITH WHOM
                              2   SIMPSON THACHER HAS ANOTHER FORM OF CONNECTION AS DESCRIBED ABOVE ON SCHEDULE 2
                                  CLEARWAY ENERGY
                              3
                                  CLEARWAY ENERGY GROUP LLC
                              4
                                  CLEARWIRE
                              5
                                  CNA INSURANCE COMPANY
                              6
                                  COGENTRIX
                              7
                                  COMCAST
                              8
                                  CONSTELLATION ENERGY GROUP, INC.
                              9
                                  CONSTITUTION STATE SERVICES, LLC
                             10
                                  CONTINENTAL CASUALTY COMPANY
                             11
                                  CONTINENTAL INSURANCE COMPANY
                             12
Weil, Gotshal & Manges LLP




                                  COX PCS - SPRINT SPECTRUM
 New York, NY 10153-0119




                             13
                                  CREDIT SUISSE ENERGY LLC
      767 Fifth Avenue




                             14
                                  CROCKETT COGENERATION LP
                             15

                             16   CROCKETT COGENERATION, A CALIF LMT. PARTNERSHIP

                             17   CROCKETT COGENERATION, LP

                             18   DB ENERGY TRADING LLC

                             19   DE SHAW

                             20   DELL FINANCIAL SERVICES L.L.C. AND DELL FINANCIAL SERVICES L.P.

                             21   DESERT SUNLIGHT 300, LLC

                             22   DESERT SUNLIGHT HOLDINGS, LLC

                             23   DESERT SUNLIGHT INVESTMENT HOLDINGS

                             24   DEUTSCHE BANK

                             25   DEUTSCHE BANK NATIONAL TRUST COMPANY

                             26   DEUTSCHE BANK TRUST COMPANY AMERICAS

                             27   DIABLO WINDS, LLC

                             28


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                                     SERVICES, WHICH SERVICES ARE WHOLLY UNRELATED TO THE DEBTORS, OR WITH WHOM
                              2   SIMPSON THACHER HAS ANOTHER FORM OF CONNECTION AS DESCRIBED ABOVE ON SCHEDULE 2
                                  DYNEGY MARKETING AND TRADE, LLC
                              3
                                  DYNEGY MORRO BAY, LLC
                              4
                                  DYNEGY MOSS LANDING LLC
                              5
                                  DYNEGY POWER, LLC
                              6
                                  EAST BAY COMMUNITY ENERGY AUTHORITY
                              7
                                  ENERGY CAPITAL PARTNERS
                              8
                                  EXELON CORPORATION
                              9
                                  EXELON GENERATION COMPANY, LLC
                             10
                                  EXGEN RENEWABLES
                             11
                                  EXPRESS SCRIPTS HOLDING COMPANY
                             12
Weil, Gotshal & Manges LLP




                                  EXTENET SYSTEM
 New York, NY 10153-0119




                             13
                                  FIREMAN’S FUND INSURANCE COMPANY
      767 Fifth Avenue




                             14
                                  FIRST RESERVE
                             15

                             16   FPL ENERGY MONTEZUMA WIND, LLC

                             17   FRITO LAY COGEN

                             18   FRITO-LAY, INC.

                             19   G4S SECURE INTEGRATION LLC

                             20   G4S SECURE SOLUTIONS (USA) INC.

                             21   GENESIS SOLAR LLC

                             22   GENESIS SOLAR, LLC

                             23   GEPIF NAP I HOLDINGS

                             24   GIP III ZEPHYR ACQUISITION PARTNERS, L.P.

                             25   GOLDEN HILLS INTERCONNECTION LLC

                             26   GOLDMAN SACHS

                             27   GOLDMAN SACHS BANK USA

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                                     SERVICES, WHICH SERVICES ARE WHOLLY UNRELATED TO THE DEBTORS, OR WITH WHOM
                              2   SIMPSON THACHER HAS ANOTHER FORM OF CONNECTION AS DESCRIBED ABOVE ON SCHEDULE 2
                                  GOVERNMENT EMPLOYEES INSURANCE COMPANY
                              3
                                  GRANITE STATE INSURANCE COMPANY
                              4
                                  GRAPHIC PACKAGING INTERNATIONAL INC.
                              5
                                  GREEN RIDGE POWER LLC
                              6
                                  HALLIBURTON U.S. ONSHORE
                              7
                                  HILCORP SAN JUAN, L.P.
                              8
                                  IDEMITSU APOLLO CORPORATION
                              9
                                  J. ARON & COMPANY LLC
                             10
                                  J. ARON AND COMPANY LLC
                             11
                                  J.P. MORGAN SECURITIES LLC
                             12
Weil, Gotshal & Manges LLP




                                  J.P. MORGAN VENTURES
 New York, NY 10153-0119




                             13
                                  JOHNSON CONTROLS INC. - CENTRAL REGION
      767 Fifth Avenue




                             14
                                  JOHNSON CONTROLS INC. - SYSTEMS AND SERVICES NORTH AMERICA
                             15

                             16   JP MORGAN SECURITIES LLC

                             17   JP MORGAN VENTURES ENERGY CORPORATION

                             18   JPMORGAN CHASE BANK, N.A.

                             19   LAZARD FRÈRES & CO. LLC

                             20   LEHMAN BROTHERS COMMODITY SERVICES

                             21   LEXINGTON INSURANCE COMPANY

                             22   LIFE INSURANCE COMPANY OF NORTH AMERICA (CIGNA)

                             23   LIVE OAK LIMITED

                             24   MACQUARIE CAN

                             25   MACQUARIE ENERGY LLC

                             26   MACQUARIE FUTURES

                             27   MACQUARIE FUTURES LLC

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                                     SERVICES, WHICH SERVICES ARE WHOLLY UNRELATED TO THE DEBTORS, OR WITH WHOM
                              2   SIMPSON THACHER HAS ANOTHER FORM OF CONNECTION AS DESCRIBED ABOVE ON SCHEDULE 2
                                  MACQUERIE ENERGY LLC
                              3
                                  MASSMUTUAL ASSET FINANCE LLC
                              4
                                  MCKINSEY & COMPANY INC.-US
                              5
                                  MERRILL LYNCH
                              6
                                  MERRILL LYNCH COMMODITIES INC.
                              7
                                  MERRILL LYNCH, PIERCE, FENNER & SMITH INCORPORATED
                              8
                                  MIDAMERICAN ENERFY
                              9
                                  MIZUHO BANK, LTD. (TL)
                             10
                                  MORGAN STANLEY BANK, N.A.
                             11
                                  MORGAN STANLEY CAPITAL GROUP INC.
                             12
Weil, Gotshal & Manges LLP




                                  MORGAN STANLEY SENIOR FUNDING, INC.
 New York, NY 10153-0119




                             13
                                  MS AMLIN (LLOYDS SYND)
      767 Fifth Avenue




                             14
                                  MUFG UNION BANK, N.A.
                             15

                             16   NATIONAL FIRE & MARINE INSURANCE COMPANY

                             17   NATIONAL FIRE & MARINE INSURANCE COMPANY (BERKSHIRE HATHAWAY
                                  SPECIALTY INSURANCE)
                             18   NATIONAL FIRE AND MARINE INSURANCE COMPANY

                             19   NATIONAL FIRE INSURANCE OF HARTFORD

                             20   NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA

                             21   NEW HAMPSHIRE INSURANCE COMPANY

                             22   NEXTEL COMMUNICATIONS

                             23   NEXTEL OF CALIFORNIA, INC., A DELAWARE CORP.

                             24   NEXTERA

                             25   NEXTERA ENERGY MARKETING, LLC

                             26   NEXTERA ENERGY MONTEZUMA WIND II, LLC

                             27   NEXTERA ENERGY PARTNERS, LP

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                                     SERVICES, WHICH SERVICES ARE WHOLLY UNRELATED TO THE DEBTORS, OR WITH WHOM
                              2   SIMPSON THACHER HAS ANOTHER FORM OF CONNECTION AS DESCRIBED ABOVE ON SCHEDULE 2
                                  NEXTERA ENERGY RESOURCES ACQUISITIONS, LLC
                              3
                                  NEXTERA ENERGY RESOURCES, LLC
                              4
                                  NEXTERA ENERGY RESOURCES, LLC AND ITS SUBSIDIARY ARIES SOLAR HOLDING,
                              5   LLC
                                  NEXTERA ENERGY, INC.
                              6
                                  NORTH SKY RIVER ENERGY, LLC
                              7
                                  OCCIDENTAL POWER SERVICES, INC.
                              8
                                  ORACLE AMERICA INC.
                              9
                                  OXY ENER CANADA
                             10
                                  PRECISION DRILLING, INC.
                             11
                                  PRICEWATERHOUSECOOPERS LLP
                             12
Weil, Gotshal & Manges LLP




                                  PROLOGIS LP
 New York, NY 10153-0119




                             13
                                  QBE EUROPEAN OPERATIONS
      767 Fifth Avenue




                             14
                                  QBE INSURANCE CORPORATION
                             15

                             16   QBE SPECIALTY INSURANCE COMPANY

                             17   RBC CAPITAL MARKETS

                             18   ROYAL BANK OF CANADA

                             19   ROYAL BANK OF SCOTLAND

                             20   SBA COMMUNICATIONS CORPORATION

                             21   SHAFTER SOLAR, LLC

                             22   SIEMENS ENERGY, INC., FOSSIL SERVICES POWER GENERATION

                             23   SIEMENS INDUSTRY INC.

                             24   SIEMENS INDUSTRY, INC. - BUILDING TECHNOLOGIES

                             25   SIEMENS INDUSTRY, INC. CUSTOMER SERVICES DIVISION

                             26   SPARK ENERGY GAS

                             27   SPRINT

                             28


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                              1   2(b) – INTERESTED PARTIES TO WHOM SIMPSON THACHER PROVIDES, OR HAS PROVIDED, LEGAL
                                     SERVICES, WHICH SERVICES ARE WHOLLY UNRELATED TO THE DEBTORS, OR WITH WHOM
                              2   SIMPSON THACHER HAS ANOTHER FORM OF CONNECTION AS DESCRIBED ABOVE ON SCHEDULE 2
                                  SPRINT NEXTEL PROPERTY SERVICES
                              3
                                  SPRINT SPECTRUM
                              4
                                  SPRINT SPECTRUM- NEXTEL
                              5
                                  ST. PAUL FIRE AND MARINE
                              6
                                  STANFORD ENERGY GROUP
                              7
                                  SUMITOMO MITSUI BANKING CORPORATION
                              8
                                  SWISS RE INTERNATIONAL SE
                              9
                                  SWISS RE INTERNATIONAL SE (SWISS RE)
                             10
                                  TD BANK, N.A.
                             11
                                  TD ENERGY TRADING INC.
                             12
Weil, Gotshal & Manges LLP




                                  THE BANK OF TOKYO-MITSUBISHI UFJ, LTD. (TL)
 New York, NY 10153-0119




                             13
                                  THE STANDARD FIRE INSURANCE COMPANY
      767 Fifth Avenue




                             14
                                  THE TRAVELERS HOME AND MARINE INSURANCE COMPANY
                             15

                             16   THE TRAVELERS INDEMNITY COMPANY

                             17   THE TRAVELERS INDEMNITY COMPANY OF AMERICA

                             18   THE VANGUARD GROUP

                             19   TRAVELERS CASUALTY INSURANCE COMPANY OF AMERICA

                             20   TRAVELERS INDEMNITY COMPANY OF CT

                             21   TRAVELERS INSURANCE COMPANY OF AMERICA

                             22   TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA

                             23   TRAVELERS PROPERTY CASUALTY INSURANCE COMPANY

                             24   TYCO INTEGRATED SECURITY LLC

                             25   U.S. BANK, N.A

                             26   U.S. WINDPOWER 14

                             27   UBS AG (SWITZERLAND)

                             28


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                                     SERVICES, WHICH SERVICES ARE WHOLLY UNRELATED TO THE DEBTORS, OR WITH WHOM
                              2   SIMPSON THACHER HAS ANOTHER FORM OF CONNECTION AS DESCRIBED ABOVE ON SCHEDULE 2
                                  UBS SECURITIES
                              3
                                  UNION BANK OF CALIFORNIA
                              4
                                  UNION PACIFIC RAILROAD COMPANY
                              5
                                  UNITED SERVICES AUTOMOBILE ASSOCIATION
                              6
                                  US BANK, NATIONAL ASSOCIATION
                              7
                                  USAA CASUALTY INSURANCE COMPANY
                              8
                                  USAA GENERAL INDEMNITY COMPANY
                              9
                                  USAA GENERAL INDEMNITY COMPANY AND GARRISON PROPERTY
                             10
                                  VASCO WINDS, LLC
                             11
                                  VISTRA ENERGY CORP.
                             12
Weil, Gotshal & Manges LLP




                                  WACHOVIA CORPORATE SERVICES, INC.
 New York, NY 10153-0119




                             13
                                  WASTE MANAGEMENT – FRESNO
      767 Fifth Avenue




                             14
                                  WASTE MANAGEMENT – UKIAH
                             15

                             16   WASTE MANAGEMENT - USA WASTE OF CALIFORNIA

                             17   WASTE MANAGEMENT NATIONAL SERVICES INC.

                             18   WASTE MANAGEMENT OF ALAMEDA

                             19   WASTE MANAGEMENT OF ANTELOPE VALLEY

                             20   WASTE MANAGEMENT OF CORNING

                             21   WASTE MANAGEMENT OF FORT BRAGG

                             22   WASTE MANAGEMENT OF NEVADA

                             23   WASTE MANAGEMENT OF NORTH VALLEY DISPOSAL

                             24   WELLS FARGO BANK, NATIONAL ASSOCIATION

                             25   WELLS FARGO BANK, NORTHWEST ASSOCIATION, AS TRUSTEE MAC: U1228-051

                             26   WELLS FARGO SECURITIES LLC

                             27   WESTPORT INSURANCE CORPORATION

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                                     SERVICES, WHICH SERVICES ARE WHOLLY UNRELATED TO THE DEBTORS, OR WITH WHOM
                              2   SIMPSON THACHER HAS ANOTHER FORM OF CONNECTION AS DESCRIBED ABOVE ON SCHEDULE 2
                                  WESTSIDE SOLAR, LLC
                              3
                                  WILLIS TOWERS WATSON
                              4
                                  WILLOW CREEK
                              5
                                  X-ELIO ENERGY, S.L.
                              6
                                  XL INSURANCE AMERICA, INC.
                              7
                                  XL INSURANCE COMPANY
                              8
                                  XL INSURANCE CORPORATION
                              9
                                  XL SPECIALTY INSURANCE COMPANY
                             10

                             11    2(c) – INTERESTED PARTIES FOR WHOM ADDITIONAL INFORMATION IS NEEDED FOR SIMPSON
                                                       THACHER TO ASCERTAIN POSSIBLE CONNECTIONS
                             12   ALPHA                 AMERICAN            AMERICAN             ANDERSON
Weil, Gotshal & Manges LLP




                                                        AUTOMOBILE          INSURANCE
 New York, NY 10153-0119




                             13                         INSURANCE           COMPANY
                                                        COMPANY
      767 Fifth Avenue




                             14   ANDREW SMITH          AVERY               BADER                BEHRING
                             15   BENJAMIN MOORE        BENTON               BLAKE                BLANKENSHIP
                             16   BORROWS               BRAUN                BREEN                BRIAN JOHN
                                                                                                  JOHNSON
                             17   BROWN                 BROWNSON             BUCKWALTER           CAN NAT RES
                             18   CARLETON              CARPENTER            CASELLA              CASTLETON
                                                                                                  CANADA
                             19   CASTLETON COMM        CHAPIN               CHAPMAN              CHARLES
                                                                                                  THOMPSON
                             20   CHRISTINE PALMER      CHRYSLER             COLLINS              COLLINS #2

                             21   CRAIN                 CROCKER              CURRIER              CURRY

                             22   DAVID JOHNSON         DAVID PETERSON       DAVIES               DAVIS ET AL

                             23   DENNIS ET AL          DIEDRA               DONALDSON            DORMAN

                                  DOYLE                 DUVAL                EAGAN                ELLIOTT
                             24
                                  ELLIS                 ENTERPRISE           ERNST                ESPANA
                             25
                                  EVAN WILLIAMS         EWING                FAIRMAN              FARRELL
                             26
                                  FINCH                 FRANZ                FRYER                GOODMAN
                             27
                                  GRAY                  GWYNN                HALL                 HARTMAN
                             28


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                              1   HICKS               HINMAN                HOOD                 HOUSTON

                              2   HOWE                HYDROCARBON           IRELAND              JACUZZI

                              3   JAMES               JARRETT               JEONG                JEWETT

                                  JOHNSON             JOSEPH                KAISER               KATHY
                              4                                                                  (INSURANCE
                                                                                                 AGENT)
                              5
                                  KAUFFMAN            KENNEDY               KIRKPATRICK          LACC
                              6   LACC #21            LANDMARK              LARSON               LEACH
                              7   LEBARON             LIEBERMAN ET AL       LITTLE               LLOYDS OF
                                                                                                 LONDON (VARIOUS)
                              8   LUNA                MASSENGILL            MATHIS               MCDOWELL
                              9   MCKENNA             MCNEIL                MCNEILL              MEYER

                             10   MICHAEL GRAHAM      MONROE                MORSE / KARNS        MOUNT/SMITH ET
                                                                                                 AL
                             11   MURPHY              NEFF                  NELSON               O'NEILL

                             12   PATTISON            PETER (FREMONT        PETERS               PETERSEN
                                                      LOC MGR)
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13   PHILLIPS            POLLAK                POTTER               PRICE
      767 Fifth Avenue




                             14   REYNOLDS            RICE                  ROBERT BROWN         ROBERT E.
                                                                                                 (AMERMAN)
                             15   ROBERTS             RODRIGUEZ             RUTH YATES           SCHAEFFER

                             16   SCHMITZ             SCHULTZ               SCOTT                SEARS
                                  SHADYBROOK          SHAFFER/ ROGERS       SHARON L. JONES      SMITH, BARBARA
                             17                                                                  (BOBBIE)
                                  SOLARI              SONIA (INSURANCE      SPRING               STEPHENSON
                             18                       AGENT)
                                  STEVEN A, MINORS,   TAYLOR                TERRELL              THAYER
                             19
                                  BY AND THROUGH
                                  THEIR GUARDIAN
                             20
                                  AD
                                  LITEM(GUARDIAN
                             21
                                  NOT LISTED ON
                                  COMPLAINT)
                             22
                                  THOMAS TAYLOR       TIGER                 TOWERCO              TRC
                             23   TROWBRIDGE          TURNER ET AL          VAIL                 WALLACE
                             24   WALSH               WEST                  WESTERN              WHEELER
                                                                            PROPERTIES
                             25   WHITE               WILLIAM LEE           WILLOW CREEK         WRECO
                             26   WRIGHT              ZIMMERMAN

                             27

                             28


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